         Case
          Case2:25-cv-10806-MAG-EAS
           Case2:25-cv-10806-MAG-EAS ECF
                 2:25-cv-10806-MAG-DRGECFNo.
                                       ECFNo.68-1,
                                           No.53,5,PageID.1343
                                                    PageID.2212Filed
                                                    PageID.60    Filed
                                                                  Filed05/14/25
                                                                        06/12/25Page
                                                                     03/24/25    Page
                                                                                  Page
                                                                                     2 1of1of2of22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                                                  PROOF OF SERVICE

                        (This section should not be filed with the Court unless required by Fed. R. Civ. P. 4(1))

                                                                                 Case No. 2:25−cv−10806−RJW−DRG


           This summons for (name of individual and title, if any)                       Matthew Weiss

was received by me on (date)



[    ]     I personally served the summons on the individual at (place)

                                                                                       on (date)                                             ; or



[    ]     I left the summons at the individual's residence or usual place of abode with (name)

                                                                             a person of suitable age and discretion who resides there,

           on (date)                                            , and mailed a copy to the individual's last known address; or



[    ]     I served the summons on (name of individual)                                                                               , who is

           designated by law to accept service of process on behalf of (name of organization)

                                                                                      on (date)                                             ; or



[    ]     I returned the summons unexecuted because                                                                                         ; or


                                            Summons & Complaint mailed by Certified Mail. Return receipt attached and signed on 4/28/2025
[    ]     Other: (specify):



          My fees are $                              for travel and $                     for services, for a total of $                       .

          I declare under the penalty of perjury that this information is true.




Date: 5/14/2025
                                                                              Server's Signature
                                                                              Amanda Allen, Paralegal for Stinar Gould Grieco & Hensley
                                                                              Printed Name and Title
                                                                              101 N. Wacker Dr., Ste. 100, Chicago, IL 60606
                                                                              Server's address

Additional information regarding attempted service, etc.:
   Case
    Case2:25-cv-10806-MAG-EAS
         2:25-cv-10806-MAG-EAS ECF
                                ECFNo.
                                    No.68-1,
                                        53, PageID.1344
                                             PageID.2213 Filed
                                                          Filed05/14/25
                                                                06/12/25 Page
                                                                          Page22ofof22


May 14, 2025

Dear Melissa Winecki:

The following is in response to your request for proof of delivery on your item with the tracking number:
9414 8112 0620 8882 1446 14.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     April 28, 2025, 1:24 pm
Location:                                               MADISON, CT 06443
Postal Product:                                         USPS Ground Advantage™
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Recipient Name:                                         Mr Matthew Weiss
Shipment Details

Weight:                                                 8.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
